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 4
   Attorney for Defendant                                              Ok/HAV
 5 GERARDO SILVA
 6
 7                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8                              EASTERN DISTRICT OF CALIFORNIA
                                             -o0o-
 9
   UNITED STATES OF AMERICA, )                      CASE NO.: 05 - CR - 0413 DFL
10                           )
            Plaintiff,       )                      STIPULATION AND ORDER TO
11                           )                      CONTINUE SENTENCING
   v.                        )
12                           )                      Date:          February 15, 2007
   GERARDO SILVA & AIDA      )                      Time:          10:00 am
13 MAGANA                    )                      Room:          7
                             )
14          Defendant  (s),  )

15
            It is hereby stipulated by and between Plaintiff, Assistant United States Attorney, Matthew
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     D. Segal and Defendant, Gerardo Silva, through his counsel, Ron Peters that the sentencing
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     hearing presently set on February 15, 2007 at 10:00 am shall be continued to April 19, 2007 at 10:00
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     am. Both sides stipulate that due to the need to review and analyze the facts and law in this case,
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     additional time is needed for preparation and continuity of counsel, and therefore statutory time
20
     should be excluded.
21
            The parties request that this Court exclude speedy trial time from the date of the signing of
22
     this order up to and including April 19, 2007 to allow the parties to complete the above tasks.
23
            Speedy trial time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and Local
24
     Code T-4, for ongoing preparation of counsel.
25
26 ///
27 ///
28 ///


           U.S. vs. SILVA                                                STIPULATION AND ORDER TO
                                                                         CONTINUE SENTENCING
           Case 2:05-cr-00413-JAM Document 52 Filed 02/15/07 Page 2 of 2


 1                                           Respectfully submitted,
 2
 3 DATE: 02/14/07                      By:   /s/Ron Peters
                                             RON PETERS
 4                                           Attorney for Gerardo Silva
 5
     DATE: 02/14/07                    By:   /s/Matthew D. Segal
 6                                           Matthew D. Segal
                                             U.S. Attorney
 7
 8
 9                                       ORDER
10 IT IS SO ORDERED.
11
12 DATED:         02/14/2007                 /s/ David F. Levi
                                             DAVID F. LEVI
13                                           United States District Court Senior Judge
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         U.S. vs. SILVA                                      STIPULATION AND ORDER TO
                                                             CONTINUE SENTENCING
